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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


                                                                        Civil Action
                                                                        No: 10-10775-WGY
                              BLAUER MANUFACTURING

                                          Plaintiff

                                              v.

                                 ASHLEY WORLDWIDE
                                      Defendant



                     SETTLEMENT ORDER OF DISMISSAL

YOUNG, D.J.


        The Court having been advised on 10/14/10 that the above-entitled action has been
settled:
        IT IS ORDERED that this action is hereby dismissed without cost and without
prejudice to the right of any party, upon good cause shown, to reopen the action within thirty
(30) days if settlement is not consummated.


                                                                 By the Court,


                                                                 /s/ Elizabeth Smith
                                                                 Deputy Clerk




October 14, 2010


To: All Counsel
